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                      IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                                   LAKE CHARLES DIVISION

 THE STATE OF LOUISIANA,                   §
                      Plaintiff,           §
                                           §
 v.                                        §       CASE NO. 2:23-cv-00692-JDC-KK
                                           §
 U.S. ENVIRONMENTAL                        §
 PROTECTION AGENCY, et al. ,               §
                      Defendants.          §



                      ORDER GRANTING MOTION FOR LEAVE
                         TO FILE AMICUS CURIAE BRIEF OF
                    THE AMERICAN CIVIL RIGHTS PROJECT AND
                     THE HAMILTON LINCOLN LAW INSTITUTE
                     IN OPPOSITION TO DEFENDANTS’ MOTION
                    FOR SUMMARY JUDGMENT AND SUPPORT OF
                             SUMMARY JUDGMENT FOR
                        PLAINTIFF UNDER FED. R. CIV. P. 56(F)

        The Court declares that, good cause being shown, the Motion for Leave to File

 Amici Curiae Brief of the American Civil Rights Project and the Hamilton Lincoln Law
 Institute (together, the Amici) is hereby granted. Courts have broad discretion to

 appoint amici curiae and frequently accept amicus briefs from non-parties if the amicus

 has unique information or perspective that may assist the court. See, e.g., Pel-Star Energy

 v. U.S. Dep’t of Energy, 890 F. Supp. 532, 535-36 (W.D. La. June 12, 1995).

        The Court thus grants the Amici’s motion for leave. The brief attached as Exhibit

 1 to the Amici’s motion is hereby deemed filed.



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       IT IS SO ORDERED.




       THUS DONE AND SIGNED in Chambers this 10th day of October, 2023.


                  __________________________________________
                              JAMES D. CAIN, JR.
                       UNITED STATES DISTRICT JUDGE




                                       2
